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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

        v.                                                            DECISION AND ORDER
                                                                    10-CR-239S (1)(2)(3)(4)(5)(8)
JOHNNY ROUNDS, DONALD ROUNDS,
RICKY PROCTOR, LORENZO HUNT,
DeMARIO STEWART, and BRODERICK ROBINSON,

                        Defendants.



                                        I. INTRODUCTION

        Presently before this Court are Defendant Lorenzo Hunt’s first and second motions

in limine.1 (Docket Nos. 599, 635.) For the following reasons, Hunt’s first motion is granted

in part and denied in part. Hunt’s second motion is denied.

                                        II. BACKGROUND

        The government alleges that Johnny Rounds is the leader of a violent criminal

enterprise—the “Rounds Crew”—that conspired to engage in drug-trafficking and violent

criminal activity in the Broadway Market area of the City of Buffalo, NY. Donald Rounds,

Ricky Proctor, Lorenzo Hunt, DeMario Stewart, and Broderick Robinson are allegedly

members of the Rounds Crew.

        In 2009, the Rounds Crew began feuding with a rival group known as the “LRGP

gang,” which was trafficking drugs several blocks from where the Rounds Crew operated.

The feud escalated when members of the LRGP gang allegedly broke into a Rounds Crew

stash house and stole drugs, cash, jewelry, and clothing. Johnny Rounds allegedly told


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         Defendant Donald Rounds’s motion to join Hunt’s second motion in limine (Docket No. 638) will
be granted. The other co-defendants have already been granted leave to join Hunt’s motions. (Docket
No. 636.)
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his crew that he wanted members of the LRGP dead in retaliation.

        Soon after, members of the Rounds Crew began seeking out and shooting at LRGP

members. LRGP members responded in kind. Amid the violence, three people were

murdered: Brandon Haugabook; Larry Crosland; and Shawn Kozma. Defendants are now

variously charged in a superseding indictment with these three murders and numerous

drug-trafficking and firearms-related offenses. Trial begins November 3, 2015.

                                              III. DISCUSSION

        Familiarity with facts and underlying arguments is presumed.

        Hunt seeks six forms of relief in his motions:                   (1) to preclude DNA reports

concerning a rifle, a rifle sling, and a towel;2 (2) to preclude the in-court identification of

Hunt; (3) to preclude the in-court identification of the Kozma murder weapon; (4) to

preclude co-conspirators’ statements; and (5) to preclude co-defendants’ statements, or

in the alternative, to sever.3 (Docket Nos. 599, 635.) Defendants’ requests are discussed

in turn.

        1.         DNA Reports

        Hunt seeks to preclude reports relating to DNA testing done on a rifle, a rifle sling,

and a towel, or, in the alternative, to hold a pretrial hearing to examine the admissibility of

the reports. Each of these pieces of evidence is tied to the Kozma murder, which the

government alleges Hunt committed.

        Through its expert witness, Senior Forensic Serologist Kristen Betker, the


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          Hunt’s second motion in limine focuses exclusively on seeking to preclude DNA evidence relating
to the towel. (See Docket No. 635.)
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            Hunt also seeks leave to join his co-defendants’ motions in limine. That request is granted.

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government conducted DNA testing on the rifle, rifle sling, and towel, comparing Hunt’s

known DNA to the DNA swabs collected from the items. Among other findings, the reports

conclude that Hunt cannot be excluded as a contributor to the DNA swab taken from the

rifle and sling. (Docket No. 599-3.) Hunt (and Donald Rounds) could not, however, be

connected to the towel because “the DNA typing results obtained from the towel cannot

be used for inclusionary comparison purposes to [his] known buccal specimens.” (Docket

No. 635, p. 2.)

       Hunt seeks preclusion of the reports relating to the rifle and the sling on the basis

that the methodology employed in them is fatally flawed. Specifically, Hunt challenges the

report’s probability analysis—the probability of randomly selecting an unrelated individual

as a possible contributor to the DNA profile—because it does not account for what the

parties know to be one of Hunt’s relative’s DNA contributing to the rifle and sling DNA

swab. Hunt seeks preclusion of the report relating to the towel on the basis that it is

inconclusive.     In support of both motions, Hunt relies on the report of forensic

mathematician Charles H. Brenner, Ph.D., whom he may presumably call as an expert

witness. (Docket No. 652-1.)

       In response to Hunt’s motion, the government argues that Hunt’s attack on the

methodology contained in the report is unsupported speculation. It states that Betker will

testify about the correctness of her methodology, analysis, and conclusions. It further

maintains that Hunt’s challenges to the DNA reports go to the proper weight to be afforded

the evidence, not to its admissibility.

       Having considered the parties’ arguments, this Court finds that neither preclusion

nor a pretrial hearing are warranted. In its “gatekeeper role,” a court must make “a

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preliminary assessment of whether the reasoning or methodology underlying the [expert]

testimony is scientifically valid and of whether that reasoning or methodology properly can

be applied to the facts in issue.” See Daubert v. Merrel Dow Parms, Inc., 509 U.S. 579,

592-93, 113 S.Ct. 2786, 125 L.Ed.2d 469 (1993). Here though, Hunt does not challenge

the scientific validity of the methodology that Betker employs in her reports. (See Docket

No. 634, p. 5.) Rather, Hunt challenges the reliability of Betker’s probability analysis based

on what he alleges is a false factual premise—that no related individuals contributed to the

DNA swab.4 But challenges to reliability and assertions of factual error in the application

of a given methodology go to the weight of the evidence, not to admissibility. See

McCullock v. H.B. Fuller Co., 61 F.3d 1038, 1044 (2d Cir. 1995) (finding that disputes as

to faults in methodology go to the weight, not the admissibility, of expert testimony); see

also Perkins v. Origin Medsystems, Inc., 299 F. Supp. 2d 45, 60 (D.Conn. 2004) (finding

that challenge to expert witness’s opinion as not reliably based on her application of

methodology went to weight, not admissibility). Hunt will, of course, have a full and fair

opportunity for cross-examination, which, rather than preclusion, is the proper mode for

exposing any weaknesses in the expert’s opinions. Consequently, Hunt’s requests to

preclude DNA evidence or to conduct a pretrial hearing are denied.

        This Court pauses to note its concern, however, with how the government intends

to present its DNA evidence concerning the towel. As this Court understands it, the DNA

swab from the towel could not be used to conduct an inclusionary comparison to DNA

known to be from Hunt and Donald Rounds. Depending on how the government intends


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         Indeed, Brenner’s report includes a section entitled “Disagreement with prosecution mixture
analysis.” (Docket No. 652-1.)

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to use this evidence, it may or may not be relevant or probative. Consequently, before

DNA evidence relating to the towel is offered at trial, this Court will hear argument

concerning how the government intends to use the evidence and whether it is admissible

under the Federal Rules of Evidence.

        2.      In-court Identification of Hunt

        Hunt anticipates that several of the government’s witnesses will be asked to identify

him at trial without ever having engaged in any out-of-court identification procedures. This,

he contends, puts him at a distinct disadvantage, because he, an African-American, will

be sitting next to his Caucasian defense attorney, resulting in an unfairly suggestive

identification procedure. Hunt therefore requests an order requiring the government to

provide the foundation for any in-court identification outside the presence of the jury. The

government does not meaningfully respond to Hunt’s request.5

        “Where the circumstances of . . . an at-trial identification are suggestive, reliability

is the linchpin for determining admissibility.” United States v. Matthews, 20 F.3d 538, 547

(2d Cir. 1994) (citing Manson v. Brathwaite, 432 U.S. 98, 114, 97 S.Ct. 2243, 53 L.Ed.2d

140 (1977)). But “[e]ven an identification at trial under circumstances that are tantamount

to a showup is ‘not per se inadmissible, but rather depend[s] upon the ‘totality of the

circumstances.’” Id. (quoting United States v. Archibald, 734 F.2d 938, 942 (2d Cir. 1984)).

        Because an at-trial identification in some circumstances could be “tantamount to a

showup,” the Second Circuit has held that “the trial court has discretion to take steps to

avoid any unfairness in the in-court identification.” Matthews, 20 F.3d at 547. The Court


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          The government’s response re-states legal principles that apply when a witness’s pretrial
identification is challenged. Here, however, no pretrial identification proceedings have occurred.

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is not required to take such steps sua sponte, however; it is incumbent on the defendant

to request measures designed to ameliorate any suggestiveness. See id. For example,

a defendant may request “to be seated somewhere other than at the counsel table, or not

to be present, or to be placed in a lineup prior to the in-court identification.” Id.

        Hunt requests an order requiring the government to provide the foundation for any

in-court identification outside the presence of the jury. In the absence of an objection by

the government, and to assist in determining whether any measures need be taken as

contemplated in Matthews, this Court will require a proffer from the government outside the

jury’s presence before any witness’s in-court identification of Hunt. This Court will then

determine what, if any, measures must be taken to ameliorate any unfair suggestiveness.

Consequently, Hunt’s request is granted.

       3.     In-court Identification of the Kozma Murder Weapon

       Similar to his request concerning his in-court identification, Hunt requests an order

requiring the government to provide the foundation for any in-court identification of the

weapon used in the Kozma murder. This request is not supported by any legal authority,

but rather, is premised on Hunt’s belief that there is no credible or physical evidence linking

the weapon to the Kozma murder. The government, however, contends that the weapon

will be tied to the Kozma murder through both witness testimony and the DNA evidence

discussed above.

       In light of the government’s representation that it will present testimony and

evidence connecting the weapon to the Kozma murder, this Court finds no basis to grant

Hunt’s request for a preview of the government’s evidence. Hunt will have a full and fair



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opportunity to challenge the government’s evidence on cross-examination. In the absence

of any authority requiring the foundational proffer that he seeks, Hunt’s request is denied.

       4.     Co-conspirators’ Statements

       The government has generally indicated that it will seek to introduce co-conspirator

statements at trial as non-hearsay under Rule 801(d)(2)(E) of the Federal Rules of

Evidence. Under that rule, out-of-court statements are not considered hearsay if the

statements are offered against the opposing party and were made by the party’s co-

conspirator during and in furtherance of the conspiracy. Such statements can be admitted

if the government establishes by a preponderance of the evidence “that there was a

conspiracy, that both the declarant and the party against whom the statements are offered

were members of the conspiracy, and that the statements were made during and in

furtherance of the conspiracy.” United States v. Rivera, No. 13-CR-149 (KAM), 2015 WL

1875658, at *22 (E.D.N.Y. Apr. 22, 2015) (citing Bourjaily v. United States, 483 U.S. 171,

175-76, 107 S.Ct. 2775, 97 L.Ed.2d 144 (1987)). In making preliminary determinations of

admissibility under Rule 104(a), the court may consider the statements, which are

presumptively unreliable, but there must also be independent corroborating evidence of

the defendant’s membership in the conspiracy. See United States v. Tellier, 83 F.3d 578,

580 (2d Cir. 1996).

       Hunt moves to preclude co-conspirator statements that may have been overheard

by two anticipated government witnesses after the conspiracy alleged in the indictment

ended. Despite the timing of these statements, the government’s position appears to be

that it will establish admissibility under the rule at trial. As this Court noted in its previous

decision resolving motions in limine, the government is aware of what it must establish for

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the admission of co-conspirator statements under Rule 801(d)(2)(E). See United States

v. Rounds, No. 10-CR-239S, 2015 WL 5918372, at *5 (W.D.N.Y. Oct. 9, 2015). Because

this Court is currently unaware of the specific statements that will be offered and the

circumstances surrounding them, it will deny Hunt’s request for a pretrial ruling and will

resolve any further objection at the time the statements are offered.

       5.     Co-defendants’ Statements

       Hunt seeks an order precluding the government from introducing evidence

concerning death threats that co-defendant DeMario Stewart allegedly made against a

potential trial witness while he was incarcerated. This request is now moot because the

government has indicated that it does not object to a Report and Recommendation issued

by the Honorable Hugh B. Scott, which recommends that this evidence be suppressed as

obtained in violation of Stewart’s Sixth Amendment right to counsel. (See Docket Nos.

648, 661.) This Court will accept Judge Scott’s Report and Recommendation by separate

order. Consequently, this request is moot.

                                   IV. CONCLUSION

       For the reasons stated above, Hunt’s motions in limine are granted in part and

denied in part.

                                      V. ORDERS

       IT HEREBY IS ORDERED, that Defendant Donald Rounds’s Motion to Join

Defendant Lorenzo Hunt’s Second Motion in Limine (Docket No. 638) is GRANTED.

       FURTHER, that Defendant Lorenzo Hunt’s First Motion in Limine (Docket No. 599)

is GRANTED in part and DENIED in part.



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         FURTHER, that Defendant Lorenzo Hunt’s Second Motion in Limine (Docket No.

635) is DENIED.

         SO ORDERED.


Dated:         October 26, 2015
               Buffalo, New York

                                                     /s/William M. Skretny
                                                     WILLIAM M. SKRETNY
                                                     United States District Judge




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